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Doublejeopardy
Doublejeopardy is a procedural defence (ppfharily in common law jurisdictions) that prevents an
afceused person from being tried again opAne same (or similar) charges following an acquittal or
convicfem-aod in rare cases prosecuforim and/orjudge misconduct in the same jurisdiction.!il Double
jeopardy is a comiaDn--eene€pt"Rrcriminal law. In civil law, a similar concept is that of res judicata.
Variation in common law countries is the peremptory plea, which may take the specific forms of
autrefois acquit('previously acquitted') or autrefois convict ('previously convicted'). These doctrines
appear to have originated in ancient Roman law, in the broader principle nan bis in idem ('not twice
against the same').^


 Contents
                                                                        lyJ(L WvC
 Availability as a legal defence
 International Covenant on Civil and Political Rights
 European Convention on Human Rights
 By country
     Australia
     Canada
     France
     Germany
     India
     Japan                                                             ''\U\Ci-
     The Netherlands
     Pakistan
     Serbia
     South Africa
     South Korea
     United Kingdom
         England and Wales
              Pre-2003
              Post-2003
                                                                                              DOoifi
         Scotland
         Northern Ireland
     United States
         Prosecution after acquittal
         Exceptions
         Multiple punishment, including prosecution after conviction
         Prosecution after mistrial

 See also
           Case 1:22-cv-00771-RDA-IDD
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                                        N. Hughes, United    Filed    07/11/22
                                                                District              Page
                                                                         Judge 1 Southern      7 of
                                                                                          District ofTexas
                                                                                                      49 PageID# 13


 Lynn N. Hughes, United States District Judge




                                                                                        Co.Wl-

                                           Lynn N. Hughes
                                   United States District Judge
                                       LNH@txs.uscourts.gov

                                     Biography and Disclosure


             Case-Related Contact                                    Chambers Contact
                                                                                              (vJ
                                                                                            >'5
   Glenda Hassan                                         Crystina Huerta
   Case Manager                                          Secretary                       C^
  (713)250-5516 (voice)                                  (713)250-5900(voice)
  (713)250-5937(fax)
   Glenda_Hassan@txs.uscourts.gov
                                                         (713)250-5650 (fax)
                                                         Crystina_Huerta@txs.uscourts.gov
                                                                                            13.
   515 Rusk Avenue, Room 5300                            515 Rusk Avenue, Room 11122
   Houston, Texas 77002-2605                             Houston, Texas 77002-2605

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   Procedures                Guides


   Procedures            Publications                                    iAfV\


    This Week's Schedule               Next Week's Schedule

              Monday                             Monday

             Tuesday                             Tuesday
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                                                                                          District 49 PageID# 14


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                                    SOUTHERN DISTRICT OF TEXAS
                                    CIVIL DOCKET FOR CASE #: 4:21



 Busto, The First v. The Honorable State of Texas Do not docket in Date Filed: 01/08/2021
 this case. File only in 4:21cv0343.                                                     Date Terminated: 01/29/2021
 Assigned to: Judge Lynn N Hughes
  Related Case: 4:21-cv-00343
 Cause: No cause code entered

 Plaintiff

 C. M Busto, The First                                                represented by C. M Busto, The First
                                                                                         535 E. Yanonali St.

        1V\'iS                                                      s                    Santa Barbara, CA 93103
                                                                                         PROSE



 V.

 Defendant

 The Honorable State of Texas
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  01/08/2021                APPLICATION to Proceed^Forma Pauperis filed by C. M Busto, The First.
                           (Attachments:#iProposed^der,# 2 Exhibit)(rcastro,4)(Additional attachment(s) added
                            on 1/8/2021:# 3 ComplaintJ(rcastro,4).(Entered: 01/08/2021)
  01/26/2021                QkujiK Giranting Application to Proceed IFP.(Signed by Judge Lynn N Hughes)Parties
                            fotified.(ghassan,4)(Entered: 01/29/2021)
  02/08/2021                E-MAIL from Chad Busto re: granting petition, filed,(ghassan,4)(Entered: 02/08/2021)


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                                                                             of 491PageID#
                                                                                    of 2   16


      AO 240 (Rev.06/09)Application to Proceed in District Court Without Prepaying Fees or Costs(Short Form)                                       Appendix C


                                            United States District Court
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                                                                            District of                                   Southern District of Texas
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            C-. f'O'                            ^ 'lit firsf^                                                                  JAN 08 2021
                                    Plaintiff
                                                                                        Civil Action No.
    li\t yoAoraLL                           Q-f 7^/2 C                                                                                      Clerk of Couit

                                   Defendant


              APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING                                                        SES OR COSTS
                                                                         (Short Form)

               I am a plaintiff or petitioner in this case and declare that I am unable to pay the costs ofthese proceedings and
      that I am entitled to the relief requested.

                 In support ofthis application, I answer the following questions under penalty of perjury:                                                       k
                 \.Ifincarcerated. I am being held at: \a)f_                       f{f\ IfdlfiL                                     *1/"^                       ^ ^ft
      Ifemployed there, or have an account in the institution, I have attached to this documen^a statement certified bythe                                       Q//
      appropriate institutional officer showing all receipts, expenditures, and balances during the l^t six months for any
      institutional account in my name. I am also submitting a similar statement from any other institution where I was                                          ,.
      incarcerated during the last six months.                                                    '                                                                   ^

                 2.Ifnot incarcerated. IfI am employed, my employer's name and address are:                                            j
    Wnr ^0,^ I 4^                                  ^                   j Lnf'                                         a/^U qLy,'/j A de/lSZ
^     If ff c/ j /I
      My gross pay or wages are: $                                     ,and my take-home pay or wages are: $                                          per

       (specify pay period)

                 3. Other Income. In the past 12 months, I have received income jfrom the following sources (check all that apply):

             (a)Business, profession, or other self-employment                                                         Olslo
             (b)Rent payments, interest, or dividends                                                                  □ No
             (c)Pension, annuity, or life insurance payments                                                           a^o
             (d) Disability, or worker's compensation payments                                                         □ No
             (e) Gifts, or inheritances                                                                                □ No
             (f) Any other sources                                                                                     □ No


                 Ifyou answered "Yes" to ,any question above, describe below or on separate pages each source of money and
      state the amount that you received and what you expect to receive in the future.                                    .

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      AO 240 (Rev.06/09) Application to Proceed in District Court Without Prepaying Fees or Costs(Short Form)



                4. Amount of money that'I have in cash or in a checking or savings account: $ jft                                               .
              5. Any automobile, real estate, stock, bond,security, trust,jewelry, art work, or other financial instrument or
      thing of value that I own,including any item of value held in someone else's name (describe tAe property and its approximate
      value), j^ fylonj

b\lt                                                                                                    To^^>^r
               o'f-                                                        IAz.ny^Yy fS                                                  ,
               6. Any housing, trarlsportation, utilities, or loan payments, or other regular monthly expenses (describe and provide 'T^tdn,
      the amount ofthe monthly expense)',      a I/         J                     I                                               H     J
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     mcL iJ^ I ^/K. y^cL/i^c&lf^ )//)n In-fi ni
                7. Names(or, if under 18, initials only)ofall persons who are dependent on mp for support, my relationshm                            '
                                                                                                                                                     .
      with each person, and how much I contribute to their support:                                      (jh t(/i\ p^)^Ts                   f
         loriy                 ^                      j/Vg                      erijtn etcr,^                                                       O^
j4>/(
               C^^iJ                   S"                                                               on US~                     jV^'W
                8. Any debts or financial jObligations (describe the amounts owed and to whom they are payable):

    Ui                                                ^ \jAJnu   CrfMf OVK. cMiCuAGc,
i^k'w /f                                                    y^£^y f^A/; 1}{BSB
    A A iM-f/MfTf AMOvMr Of^
 /              Declaration: I declare under penalty of peijuiy that the above information is true and understand that a false'^/^/Z^/T^
/     statement may result in a dismissal of my claims.

      Date: )j^
                                                '                                                               Applicant's signature

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                                                                           of 49 PageID#




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             Case 1:22-cv-00771-RDA-IDD Document 1-1 Filed 07/11/22 Page 14 of 49 PageID# 20
                             This site was designed w^h the WiXxom website buiider.Create your website today.^ Starji Now ^
           "Eveiything that we sense is a part ofus: the sun,the sky, the people around us,
           our countiy,reality, life; becausb our senses are a part oftis."
                                                                                                                              WeAreOurLanguage ^
                              - President Barack H.Ohama and President Donald Trump.




                                                             WHO WE ARE.


                                                              WE ARE OUR
                                                            LANGUAGES IN
                                                        AMERICA.                 WE ARE
                                                                 AMERICAN
                                                                 ENGLISH.
                               w
                                                        THESE WORDS ARE
                                                                 AMERICAN
                                                                 ENGLISH.


                                                        OUR LANGUAGE IS
                                                             WHO WE ARE.

                                                       WE ARE EVERYTHING

                                                       WE ARE EVERYWHERE

            AND BECAUSE WE ARE EVERYONE, ALL 331 MILLION OF
           US AS AMERICAN CITIZENS ARE THE REAL PRESIDENT(S)
            OF THE UNITED STATES OF AMERICA.                                                           IT IS NOT JUST
                                                           ONE OF US.




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                                                                                 of 49 4
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      "Everything that we sense is a part of us: the sun, the slty, the people around us,                                      ITe Are Our Language
    ^_our country, reality, life; because our senses arc a part ofus."

                              - President Barack H. Obama and President Donald Trump.




                                     THE
                  REASONING

           i
               AND LOGICAL
                             PROOF

               12-lS Reasons why everyone on planet earth
   te has the identity of being everything and
               everyone in existence.
Morc> Hi. LANGUAGE.
           l2. OUR SENSES, AWARENESS,PERCEPTION, WITNESS, EXPERIENCE
More > ]3. BEING HUMAN,FAMILY AND GENDER IDENTITY.                                                             Templates pdf pdf
           4. THE TRUTH AS A CONCEPT OF REALITY.                                                                                   ^
           5. IME FIRST PERSON PERSPECTIVE OF ALL OUR OCCUPATIONS,INCLUDING PRESIDENT OF
              THE UNITED STATES OF AMERICA, OUR ARMED FORCES, CONGRESS,THE GOVERNORS OF
                 THE nFTY STATES AND MORE.
           6. THE INTELUGENCE OF WORDS THAT ARE FACTS OF OUR EXISTENCE THAT ALSO EXIST TO
                 US AS CONCEPTS: EVERYTHING, EXISTENCE, REAUTY, SPACE, LIFE, ALL, THE UNIVERSE,
                 THE MILKY WAY, GALAXY, THE SOLAR SYSTEM, PLANET EARTH, AMERICA, THE 50
                 STATES, EVERY MAJOR CITY OF THE WORLD, US.
           7. THE INTERNET.
           8. OUR MEMORY.
           9. OUR PERSONAUTIES.
           10. THE SYMBOLOGY OF OUR NAMES.                                                                                             '
           11. PSYCHOLOGY, UNDERSTANDING, KNOWLEDGE, MENTALITY.
           12. ACKNOWLEDGEMENT AND RECOGNITION OF OUR BODIES AND THEIR RELATIONSHIP TO
                  THE 3-DIHENSiONAL AND 4-DIHENSIONAL ENVIRONMENT WE EXIST IN AND MANEUVER
                  AND HOVE THROUGH.
           13. OUR CITIZENSHIP OF THE U.S.A.
           14. BUSINESS DESIGN/ ARCHiTECTUBE/ INVENTION AND WHAT IT MEANS.
               15. PLANET EARTH.

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           Case 1:22-cv-00771-RDA-IDD Document 1-1 Filed 07/11/22 Page 16 Page
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      "Eveiything that we sense is a part ofus: the sun,the shy, the people around us,
      our countty,reality, life; becatise our senses are a part ofus."
                                                                                                                            ^AreOurlangua^
                             - President Barack H.Obama and President Donald Trump.




      6. Wordsthat exist also as con^ephi
      that are a part elthe Truth el epr
      Reality:
      Everything, Existence, Reality, Space, Life, All, The Universe,
      The Milky Way Galaxy,The Solar System,Planet Earth, America,
      Our 50 States, Our Cities, Us.

      Everything as a word and a category of thought is a fact of our existence and
      includes everything that exists: you, me, America, All humans,' Earth, the entire
      universe and so on. It- also includes Language, which makes everything as a
      concept the words "THE SAME THING". Those words carry their meaning. Existence
      and Reality operate the. same way. Everything that exists or is real is a part of
      existence and reality. ' I am real, you are real, every human on this planet is
      real- we fulfill the ba:sic requirement of existence or reality|because we exist
      and are real.             Our cars' are real, our phones are real, THE PRESIDENT OF THE
      UNITED STATES is real, j Language is also real. American English makes reality
      "THE SAME THING" and One Thing: REALITY. Therefore, everything that ..is real is ■
      THE SAME THING- you, me!, the other humans on this planet; we are THE SAME REALITY
      and fundamentally the slame thing. That makes every human in America and on this
      planet THE PRESIDENT OFi THE UNITED STATES OF AMERICA and Co-Owiiers of ALL our
      major businesses: TARG,ET, WALMART, AMAZON, APPLE, GOOGLE and so on. Space and
      Life are the same way. ! Everything in outer Space is all what space is;
      everything we call life' is what life is: our houses, kids, families, inventions,
      nature, the oceans, forests, mars, whatever you can look out your window at and
      see. A sunset, a cloud, the moon, other people when you see them driving or
      walking or at the stored That is what life is. It is one category of our
      reality and everything that makes it up is the same thing: life. The Milky Way
      Galaxy and Our Solar System work similiarly. All the things that are in orbit
      around the Galactic Center are the Same Thing: The Milky Way Galaxy. That
      includes America, Our Presidency, All The Owners of Everything that iS^oWHOd on
      this planet, and All 33"l Million People in our country (really all 7.5'^^iiiion
      People) and everything |else here on earth. The Solar System consists of All the
      things in orbit and rotation around the Sun: Us, the earth, ali the living
      creatures of our planet. Our Cars, Buildings, Phones, Language^, Metabolisms,
      Food, Water, Air, Bicycles, Sports, Bars, Anything.                                     Everything that goes around
      the Sun is what our Soljar System is. And our Solar System is one Solar System;
      It is THE SAME THING, MAKING ALL OF US WHO EXIST ON EARTH THE SAME THING: THE
      SOLAR SYSTEM! I am you, you are me, and we are all one big happy family! (sort
      of).

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NEWS


Federal Judge Expresses Frustration at Procedural
Constraints in Possible Innocence Case
 f SHARE     ^ TWEET       » EMAIL


Posted on Oct 04,2018


 ARBITRARINESS          INNOCENCE     TEXAS




                                                                                      )



                                                        OA^ G 0 I M(3




In a case highlighting congressional limitations on the federal judiciary's ability to redress miscarriages of
justice, a Texas federal judge has denied relief to a death-row prisoner who the court believes was denied a
fairtrial and may well be innocent.

U.S. District Judge Keith P. Ellison (pictured) wrote on September 26,2018,that he "would almost
certainly have granted" a new trial to Robert Will, but the "constraints" imposed by 1990's-era
amendments to federal habeas corpus law left the court"powerless to address" what he called "the
troubling possibility of[Will's] actual innocence." Ellison's ruling urged the U.S. Court of Appeals for the
Fifth Circuit to address Will's claims,saying that his decision was a "technical ruling" that should not
"obscure the extraordinarily significant issues that the Court of Appeals - unlike this Court - can properly
consider."
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                                                                                                                  CLOSED,STAYED


                                                            U.S. District Court
                                    SOUTHERN DISTRICT OF TEXAS(Hoi^ton)
                                     CIVIL DOCKET FOR CASE #: 4:21-cv-00



 Busto,the First v. The Honorable State of Texas                                         Date Filed: 01/26/2021
 Assigned to: Judge Keith P Ellison                                                      Date Terminated: 01/28/2022
  Related Case: 4:21-mc-00020                                                            Jury Demand: None
  Cause: 88:8888 Other Statutory Actions                                                 Nature of Suit: 890 Other Statuto^   Actions
                                                                                         Jurisdiction: Federal Question

 Plaintiff

  C.M. Busto ,the First                                                   represented by C.M. Busto ,tbe First
                                                                                         535 E. Yanonali Street
                                                                                         Santa Barbara, CA^3l03
                                                                                         PROSE



  V.

 Defendant

 The Honorable State
                                                                                                      ^ATvS
  Date Filed            #     Docket Text                           WW
  01/26/2021                  COMPLAINT against The H^orable State of Texas filed by C.M. B^o,the First.
                             (Application to Proceed In FonhaJ^ai^ris granted January 26,^202d:Dy the Honorable
                              Lynn N. Hughes)(Attachments: #i^xKiDil)(jdav,4)(EiUgreEr02/02/2021)
  02/02/2021                  NOTICE to Pro Se Litigant of Case Opening. Party notified, filed,(jdav,4)(Entered:
                              02/02/2021)
  02/02/2021                  Summons Not Issued as to The Honorable State of Texas as no summons provided.
                              Plaintiff notified of deficiencies by First-class mail, filed.(jdav, 4)(Entered: 02/02/2021)
  02/03/2021                  ORDER for Initial Pretrial and Scheduling Conference and Order to Disclose Interested
                              Persons. Initial Conference set for 4/16/2021 at 01:30 PM in Courtroom 3A Houston
                             before Judge Keith P Ellison.(Signed by Judge Keith P Ellison) Parties notified.
                             (ShadiaNashadi,4)(Entered: 02/03/2021)
  02/11/2021                  Summons Issued as to The Honorable State of Texas. Issued summons delivered to
                              plaintiff in person, filed.(ckrus, 4)(Entered: 02/11/2021)
  02/25/2021                 RETURN of Service of SUMMONS UNEXECUTED as to the Attorney General for the
                             State of Texas. Process returned unexecuted, wrong address provided by plaintiff, filed,
                             (dnoriega, 1)(Entered: 03/01/2021)
  02/25/2021                  Letter fi-om Busto, filed,(ckrus,4)(Entered: 03/01/2021)
  03/08/2021                  Letter from C.M. Busto re: Address for Attorney General, filed.(Attachments:#1
                              Envelope)(jtabares, 1)(Entered: 03/09/2021)
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         Case 1:22-cv-00771-RDA-IDD Document 1-1 Filed 07/11/22 Page 20 of 49 PageID# 26
                                  UNITED STATES DISTRICT COURT


        '. 5/" \ %■> ^wIITTI
                                  Southern District^California
                                  HON. LARRY ALAN BURNS, CHIEF JUDGE
                                  JOHN MORRILL, CLERIC OF COURT


   Hon. Karen S. Crawford

   Proposed Orders E-mail: efiie_crawford@ca5d.uscourts.gov

   Courtroom: 2B {2nd Fir) G?
                                                                   frovc^fi
   Chambers Rm. #: Suite 2140
   Telephone: (619) 446-3964 (Contact for Civil Matters)
   Edward J. Schwartz
                                                                           St/0^
                                                                       r
   United States Courthouse

   221 West Broadway
   San Diego. CA 92101




                                                                  ■+b
   lii] Chamber's Rules & Procedures

        Civil Chambers Rules

        Electronically Stored Information Checklist



         Hearing Calendars

    Qjulyl 1,2022




        Court staff
                                                                   /V.s.AP
   Courtroom Deputy - E, Silvas
   Tel: (619) 557-2923 (Contact for Criminal Matters)




Source: https://www. casd. uscourts.gov
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                                                    Crawford - Ballotpedia Page 21 of 49 PageID# 27

                                     SUBSCRIBE




                                                    Karen Crawford
                                                                                                               Karen S. Crawford
   Karen S. Crawford is a federal magistrate judge for the United States District Court for the
   Southern District of California. She joined the court on March 5,2012.^^"^^



  I Education
   Crawford received her undergraduate degree from Boston University and her J.D.from
   California Western School of Law.'^l


                                                                                                                  Nonpartlsan

  I Career                                                                                             United States District Court for the
                                                                                                         Southern District of California
                                                                                                                      Tenure
   Prior to joining the court, Crawford was a partner with Ouane Morris LLP in San Diego. She
                                                                                                                 2012 - Present
   had previously worked as an Assistant United States Attorney in the Civil Division of the U.S.
                                                                                                                     Term ends
   Attorney's Office for the Southern District of California and as a Trial Attorney with the United
                                                                                                                       2028
   States Department of Justice,'^'                                                                             Years In position
                                                                                                                        10

                                                                                                          Elections and appointments
                                                                                                        Appointed       2012
                                                                                                                     Education

                                                                                                        Bachelor's      Boston University
                                                                                                        Law             California Western
                                                                                                                        School of Law




     See also
             United States District Court for the Southern District of California


https://ballotpedia.org/Karen_Crawford
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                                                            U.S. District Court
                               Southern District of California (San Diego)
                          CRIMINAL DOCKET FOR CASE #: 3:21-po-00576-KSC-l


 Case title: USA vs Busto                                                             Date Filed: 03/23/2021


  Assigned to: Magistrate Judge Karen S.
  Crawford


 Defendant(U

 Chad M Busto                                                         represented by Chad M Busto
                                                                                      535 East Yandanli St
                                                                                      Santa Barbara, CA 93107
                                                                                      PROSE


 Pending Counts                                                                       Disposition
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 Terminated Counts                                                                    Disposition
 None


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 None


 Complaints                                                                           Disposition
 None




 Plaintiff

 USA                                                                  represented by Christopher Michael Alexander
                                                                                     U S Attorneys Office Southern District of
                                                                                      California
                                                                                      Criminal Division
                                                                                      880 Front Street
                                                                                      Room 6293
                                                                                      San Diego, CA 92101
                                                                                      (619)546-6665
                                                                                      Fax:(619)546-0831

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                                                                                         L^-r

               Magistrate Judge Virginia K. DeMarchi                                          ,      \,\j
               San Jose Courthouse, Courtroom 2- 5th Floor                                                                 ^
               280 South 1st Street, San Jose,CA 95113                             ^^                                      ^


                                                                                                  \C{ylHy
               Public Hearings
               Please click the link below to join webinars(public hearings). If you are a case
               participant, you will join as an attendee, then you will be brought into the
               proceeding by court staff.

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                Y Join a Webinar by Phone or Other Connection




                Non-Public Hearings[Settlement Conferences]
                The court will use Zoom Meetings(as opposed to Zoom Webinars)for settlement
                conferences and other non-public hearings. To join a meeting, click on the link
                below. You will initially enter a "waiting room" and will be admitted into the
                meeting by court staff.



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                 4                                    UNITED STATES DISTRICT COURT

                  5                                  NORTHERN DISTRICT OF CALIFORNIA

                  6                                               SAN JOSE DIVISION

                  7

                  8     C. M. BUSTO,                                             ,ase No. 21 -cv-02642-VKD

                                        Plaintiff,                           ORDER GRANTING APPLICATION
                  9
                                                                             TO PROCEED IN FORMA^UPERIS
                                 V.
                 10
                                                                             ORSERTTHTREASSIGNMENT TO
                 11     GOOGLE, et al..                                      DISTRICT JUDGE; REPORT AND
                                                                             RECOMMENDATION RE DISMISSAL
                                        Defendants.
          cd     12
                                                                             Re: Dkt. No. 2
                 13

.2 o
      if-t
                 14          Presently before the Court is Chad Michael Busto's application to proceed in forma
i/i    o

■(5   ♦          15   pauperis ("IFP")- A court may authorize the commencement of a civil action IFP if the court is
<L)
a         f/i
cd
00 ^
      LJ         16   satisfied that the would-be litigant cannot pay the filing fees necessary to pursue the action.
'13 £
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.tS ^            17   28 U.S.C § 1915(a)(1). In evaluating an IFP application, the court should "gran[t] or den[y] IFP
D o
  ;z:            18   status based on the applicant's financial resources alone and then independently determin[e]

                 19   whether to dismiss the complaint on the grounds that it is frivolous." Franklin v. Murphy^ 745
                20    F.2d 1221, 1226-27 n.5 (9th Cir. 1984), abrogated on other grounds by Neitzke v. Williams^ 490

                21    U.S. 319 (1989). A court may dismiss a case filed without the payment of the filing fee whenever
                22    it determines that the action "(i) is frivolous or malicious; (ii) fails to state a claim on which relief

                23    may be granted; or (iii) seeks monetary relief against a defendant who is immune from such

                24    relief." 28 U.S.C. § 1915(e)(2)(B)(i)-(iii).

                25           While Mr. Busto's IFP application indicates that he has "Infinite" income from every
                26    resource listed on the form, Mr. Busto also notes "Infinite Debt and Expenses, too." Dkt. No. 2.
                27    This Court grants Mr. Busto's IFP application, but that does not mean that he may proceed with
                28    this action. For the reasons discussed below, this Court recommends that Mr. Busto's complaint
            Case 1:22-cv-00771-RDA-IDD  Document
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              1   be dismissed.

             2           Mr. Busto's complaint indicates that he seeks to sue "Google and Microsoft" for
              3   "Defamation/Fraud/Predication upon Deception," and that "[t]he amount at stake is An Infinite
             4    Monetary Net Worth." Dkt. No. 1 at 1-4. The complaint summarizes the basis for Mr. Busto's
              5   claims as follows:

              6                   Microsoft and Google list celebrities and other people with
                                  monetary net worths. These people benefit monetarily (alot) off of
              7                   those web pages. I am the first person in American History to claim
                                  An Infinite Monetary Net Worth on Federal Documents (Fed. court
              8                   in Jan./Feb. and IRS return this year), and I deserve a web page with
                                  that listed.
              9

             10   Id. at 4. Appended to the complaint are pages titled "Evidence," in which Mr. Busto seems to

             11   indicate that he has been harmed by "the deceptive, defamatory, and fraudulent way googling

       A     12   people makes people think about any given individual" (Dkt. No. 1 -2 at 16), and claims "I am you,
             13   you are me, and we are every human that has ever existed or will ever exist" (Dkt. No. 1-1 at 4-5).
o^
■4->   C4

|P           14          The complaint's rambling and disparate allegations do not state a legally coherent theory
CO     O

Q.a          15   of liability. Although Mr. Busto points out that a court in the Southern District of Texas granted
(D
ts
       Q     16   his IFF application (Dkt. No. 3), that does not change this Court's conclusion that Mr. Busto's
T3 S
(U     (U
             17   present complaint does not allege facts demonstrating that he has a cognizable claim for relief and
             18   that the complaint should be dismissed. Absent consent, however, a magistrate judge has no

             19   authority to issue a dispositive order. 28 U.S.C. § 636; Williams v. King, 875 F.3d 500 (9th Cir.

            20    2017). Ordinarily, the Court would recommend dismissal with leave to amend. However, the

            21    allegations of the complaint demonstrate that this action is fiivolous. Therefore, this case shall be
            22    reassigned to a District Judge with the recommendation that the complaint be dismissed without

            23    leave to amend.

            24           Mr. Busto may file an objection to this Report and Recommendation. Fed. R. Civ. P. 72.

            25    In view of the current COVID-19 public health emergency, this Court extends the deadline for

            26

            27

            28
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    AO 240 (Rev.07/10) Applicalion lo I'niceeJ i„ Districl Com Withoul Prepoying F«s or CosB(Shon Fonn)

                                         United States District Court
                                                                          for the



      C.^                              -L.                                  )
                            Plaintiff/Petitioner                            )
                                                                            )       Civil Action No.
                                                       Scrf-h
                          Defendant/Respondent
                                                                           Cv
          APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
                                                                    (Short Form)

 fUthatF IT am^ entitledplaintiff or petitioner in this case and declare that I am unable to pay the costs of thesefproceedings
                           to the relief requested.                                                                          &
                                                                                                                                and
              In support of this application, I answer the following questions under penal^ of perjury:
                                                                                                     malw


               \.Ifincarcerated. I am being held at: ^                       -p^j/\/j.                             {t>/\ jio
 Ifemployed there, or have an account in the inst^tion, l/have attached to tins uocumeni
                                                                                 ocument aa siaiemeni
                                                                                            statement certiiiea Dy the
                                                                                                      certified by tJ
 appropnate institutional officer showing all receipts, expenditures, and balances during the last six months for any
  nstitutional account in my name. I am also submitting a similar statement from any other institution where I was
 incarcerated dunng the last six months.

              2.Ifnot incarcerated. IfI am employed, my employer's name and address are:



My gross pay or wages are: $                         Di 'le^ ,and my take-home pay or wages are: $ s )                         l-e    per
 (specify pay period)             r

              3. Other Income. In the past 12 months, I have received income from the following sources (checic ait that apply):
        (a) Business, profession, or other self-employment
                                                                                                            □ No
        (b)Rent payments, interest, or dividends
                                                                                                            □ No
       (c)Pension, annuity, or life insurance payments
                                                                                                            □ No
       (d) Disability, or worker's compensation payments
                                                                                                            □ No
       (e) Gifts, or inheritances
                                                                                                            □ No
       (f) Any other sources
                                                                                                            □ No


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state thJ{i^nnTt7h^!
          amount that you received and what youabove,
                                                expectdescribe below
                                                       to receive in theorfuture.
                                                                           on separate pages each source ofmoney and
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 ^ AO 240 (Rev.07/10)Application to Proceed in District Couit Without Prepaying Fees or Costs(Short Form)


             4. Amount of money that I have in cash or in a checking or savings account: $

             5. Any automobile, real estate,stock, bond,security, trust,jewelry, art work,or other financial instrument or
   thing of value that I own,including any item of value held in someone else*s name (describe the property and its approximate
   vaiue): I                r)      I '1                           .*                 k   4-^                             I          ''




                                                                                                                                    44^'h
            6. Any housing, transportation^tilities, or loan payments,or other regular monthly expenses(describe and provide
   the amount ofthe monthly expense):   /\
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                                                                                                                                            ir&*i.
           Al                                                                                                                             ■r. , I

           7. Names(or,if under 18,initis s only)ofall persons who are dependent on me for support, my relationship
   with each person,and how much I conti bute to their support:

                     l/v/ksk                                      l/^y tXfp 1-^ IS                               ^
         Ullt? I Of/W
              8. Any debts or financial obliganons (describe the amounts owed and to whom they are payable):


   All                           art


             Declaration: I declare under penalty of perjury that the above information is true and understand that a false
   statement may result in a dismissal of my claims.

                                                                                                                     r ./n./S.
   Date:                         H
                                                                                                            Applicant's signature


                                                                                                               Printed name



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g-e^A C.Agvr-ki-flL-g^'*'^                                                                                                                  I
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             1    In view ofthe current COVID-19 public health emergency, this Court extends the deadline for
             2    submitting objections to May 17, 2021.

             3           IT IS SO ORDERED.

             4    Dated: April 26,2021

             5

             6

             7
                                    (                                      VIRGINIA K. DEMARCHI
                         ^f \                      ^           f           United States Magistrate Judge
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                                     United States District Court
                                                                   for the




                        Plaintiff/Petitioner
                                                                     )       Civil Action No.
                                         .uKi                        )
                    ]Dyendant/Respoiident
                                               CfvkiC')                             -I j-fiM-itpii Oo n/i i^i
        APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING EEES OR COSTS
                                                               (Short Form)

          I am a plaintiffor petitioner in this case and declare that I am unable to pay the costs ofthese proceedings and
 that I am entitled to the reliefrequested.

          In support of tliis application, I answer the following questions under penalty of peq'ury:
          1. Ifincarcerated. I am being held at:
If employed there, or have an account in the institution, I have attached to this document a statement certified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. 1 am also submitting a similar statement firom any otlicr institution where I was
 mcarcerated during the last .six month.s.

         2.Ifnot incarcerated. IfI am employed, my employer's name and address are:



My gro.ss pay or wages arc: $                                 y and my take-home pay or wages are: $
 (specify pay period)

         3. OtherIncome. In the past 12 months,I have received income from the following sources(check aU that apply)-.
      (a) Business, profession, or other self-employment                                        □ No
      (b) Rent payments, interest, or dividends                                                 □ No
     (c)Pension, annuity, or life insurance payments                                            □ No
     (d)Disability, or worker's compensation payments                                           □ No
     (e) Gifts, or inheritances
                                                                                                □ No
     (f)Any other sources                                                                       □ No

         Ifyou answered Yes to any question above, describe below or on separate pages each source ofmoney and
state the amount that you received and what you expect to receive in thefuture.

                                                               (I'-G 0^^ Sou/CEJ o"f honUj
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AO 240 (Rov.07/10) Applicaiion to Vroceed in District Court Without Prepaying Fees or Costs(Short1-orm)

          4. Amount of money that I have in cash or in a checking or savings account: $
          5. Any automobile, real estate, stock, bond,security, trust,jewelry, art work, or other financial instrument or
thing of value that I own. mcluding any item of value held in someone else's name (describe the property and Us approximate

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                                                                                   («[5.                                    THE.
          6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe and provide
the amount ofthe monthly expense)'.                                                                                                          ^



                                                                                                                      p/\fr of-             Vvib
         7. Names(or,ifunder 18,initials only)ofall persons who arc dependent on me for support, my relationship A
 with each person,and how much I contribute to tlieir support;                                                     [k




           8. Any debts or financial obligations (describe the amounts owed and to whom they are payable):                        ^        {1^ ^
                       A-                                                                                    P                        U£
  Uvt JM%                                                          P"'                      ,\t                  7 r
        Declaration: I declare under penalty ofperjury that the above information is true and understand that a false
 statement may result in a dismissal of my claims.                                           ^

 Date: h/jsj     f~t ^ 1                   .
                                                                                            /2L^          Applicant s signature       /


                                                                                                             Printed name
      Case 1:22-cv-00771-RDA-IDD  Document
                Case 5:21-cv-02837-BLF     1-1 Filed
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                                                                 Page 349of 8PageID# 37


                          IfJf^lA/rrt-. ArAOOh/T- of^ cksH,
      AO 140 (Rtv.06/09)Application lo Proceed in District Court Without Prepaying Fees or Costs(Short Form)


               4. Amount ofmoney that'I have in cash or in a checking or savings account: $ /                                          7^- .
              5. Any automobile, real estate,stock, bond,security, trust,jewelry, art work, or other financial instrument or
      thing of value that I own,including any item of value held in someone else's name (describe tl\e property and Its approximate
                j^ A/oij                                                             eifit-                                            4^e,^
                                A'                  -oiJAer of
 iVe {ia^                                                                                              To^r
 ^y'tAHs                                                         0?nry^O/n                                      "vS )^\40ney\^                      ,
                6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe andprovide                     ^
      the amount ofthe monthly expense)'.      At/        !                      I                                               S     J
                                            /pt no\Ait-S iTl^S^orA^'o^ ^ d^QC^
                      An J/rfin'A. ]Ajo-h A C) MrA ^f\
     sAcl iM> I ^/>v . yi-cLnkalf^ j /
               7. Names(or, if under 18, initials only)ofall persons who are dependent on me for support, my relationsl^                        y^
      with each person,and how much I contribute to their support:                                      (jh t(/p\ p\/^As
         lon.y                  -2r                   I                         ^1/€>n                                                         O^
 \sAl/                                                                                                 c:u(ijy^                            ^
cr^^^or!Cef^j                          S                                                               c>z^                       fVau
               8. Any debts or financial{Obligations (describe the amounts owed and to whom they are payable)'.

      UJt /^C                                         ^ ^A/nU                               (TH/lEGf 0V/<^ CAAICUA^^
iy>kicM // Af/YT^_P                                                                             C^iA^

 j             Declaration: I declare under penalty of perjury that the above information is true and understand that a false'^/^''^/T^
 /    statement may result in a dismissal of my claims.

      Date: ^ ^ /^/ ,                                                                          04^\(^
                                                                                                   ,
                                                •                                                              Applicant's signature

            /We'>                     C,                                                                                             A
                                                                                                                  Printed name
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      AO 240 (Rev. 06/09) AppUcalion to Proceed in District Couit Without Prcpnylng Fees or C'osts(Short Fonn)                                      Appendix C


                                         . United Statos District Court
                                                                                 for the
                                                                                                                                United States Courts
                                                                             District of                                      Southern District of Toxas
                                                                                                                                     FILED .
            C.                                   \ ii, M..                                                                       JAN 08 2021
                                    Plaintiff
                                                                                  )        Civil Action No.
           ^oAoraliL 5i4/e                                                                                                                  Clerk Of Court

                                   Defendant



              APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING MeS OR COSTS
                                                                          (Short Form)

                I arn a plaintiff or petitioner in this ease and declare that I am imable to pay the costs of these proceedings and
      that I am entitled to the relief requested.

                In support ofthis application, I answer the following questions under penalty of perjury;                                                  j/iiJol J/J
                I.Ifincarcerated. I am being held at: Ua                                                                .\^t                           ^ ^^ ,
      If employed there, or have an account in the institution, I have attached to this documen^astatement certified by'the                                         G(j
      appropriate Institutional officer showing all receipts, expenditures, and balances during the l^t six months for any
      institutional account in my name. I am also submitting a similar statement from any other institution where I was                                            ..
      incarcerated during thclast six moriths.                                                   '                                                                       ^

                2.                           ^am employed, my employer's name and address are:
                     I           O/iA.                 ^                                                             &A.cJi qUflf^xj -h

      My gross pay or wages are: S                                      ,and my lake-home pay or wages are: $
      (specifypay period)

                3. Other Income. In the past 12 months, I have received income from the following spurces (check atl that apply):

            (a) Business, profession, or other sclf-cmploymcnt                                Yes                      O No
            (b)Rent payments, interest, or dividends                                    ^Yes                           0 No                     C
           (c)Pension, annuity, or life insurance payments                              ^Yes                           □ No
           (d) Disability, or worker's compensation payments                            ^Yes                           □ Ifo
              (e) Gifts, or inheritances                                                   ^Yes                        □ No
              (f) Any other sources                                                      WVes                          □ No .
                Ifyou answered "Yes " to pny question above, describe below or on separate pages each source ofmoney and
     state the amount that you received and what you expect to receive in the future.                                     .

                         fiA. h/^incAn                                   I ^                    ^                                            IAcd,
If rn^ voiuL "r?                                            I             h.                      ^                I
       I IvSjVe (fltCA Mt                                                                                        C-^y iACtj;C ^ l X^ (l) 2H|/^ I
          /Vtl CoAiitiA/AvoAJS Of ITS SiA'BoLS ,A-7- , Aili> ALL Ca/uDfiJ/mof^S
iifi in                       rpi^tcp                                                      H/h/^ rne                            7KmfuL Cam^inmiom
                                     ^                     mps M An/rf-^An^A'T '") \ij\xlB, V mNlTB. Aihtiddr of
  rV)fth/^^      tPfi AfiA      A-fJ     1 A/n. ■. i            A A.    I , /y    aX—      Ta. \0 fiT.r      f\ /   A.— . ✓r.-—                              .a- _r.
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                                               07/11/22 Page 34 of 49 PageID#



 AOI'IOA (Rev.Ol/09) Ofdcr to Proceed WUhoat Prepaying Fees or Cosls
                                                                                                                          [oU^-SlatBaDi^ct Court
                                                                                                                          Southern Dislrict of Texas
                                    United States District Court I                                                           ENTERED
                                        I                               for the                                            January 29, 2021
                                                                       District of                                         Nathan Ochsner, Clerk

     Cr A7,                             I      ih. t^/rs-f- )
                            PlQ\ntiff
                                                                          )       Civil Action No.<

                           Defendant                                     !
                           ORDER TO PROCEED WITHOUT PREPAYING FEES OR COSTS
                                                                                                              \
                                                                                                              I
                                                                                                              1


        IT IS ORDERED: The plaintiffs application under 28 U.S.C. § I9I5 to proceed without prepaying fees or
costs is;


   Granted;


        The clerk. Is ordered to file the complaint and issue a summons. The United States rr arshal is ordered to serve
        the summons with a copy of the complaint and this order on the defcndant(s). The I nited States will advance
        the costs ofservice. Prisoner plaintifts are responsible for full payment of the filing fee.

O Granted Conditionally:                                                                                      j
        The clerk is ordered to fde the complaint. Upon receipt ofthe completed summons and USM-285 form for each
        defendant, the clerk will issue a summons. Ifthe completed summons and USM-285 forms are not submitted as
        directed,the complaint may be dismissed. ITio United States marshal is ordered to servo the completed summons
        with a copy of the complaint and this order on the dcfendant(s). Tiic United States will advance the costs of
        service. Prisoner plaintiffs are responsible for full payment of the filing fee.

D Denied;

       This application is denied for these rea.sons:




Date: (? 1 '
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                                                                                                            T signature
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  AO 240A (Rev.0ii09) Order to Proceed Without Prepaying Fees or Costs
                                                                                                                                      1 Initflri RtfltPs nigtrlrt Court
                                                                                                                                        Southern District of Texas
                                      United States District Court!                                                                        ENTERED
                                                                          for the
                                                                                                                                         January 29, 2021
                                                                         District of                                                    Nathan Ochsner, Clerk

      C.                                 I      'TLt. f^rTih
                             Plaintiff
                                                                                    Civil Action No./|

                            Defendant
                                                                                                            z
                            ORDER TO PROCEED WITHOUT PREPAYING FEES OR COSTS
                                                                                                                        I

                                                                                                                       I
         IT IS ORDERED: The plaintiffs application under 28 U.S.C. § 1915 to proceed without prepaying fees or
 costs is:                                                                                                             I
                                                                                                                       I




^^^Granted:
         The clerk is ordered to file the complaint and issue a summons. The United States ir arshal is ordered to serve
         the summons with a copy ofthe complaint and this order on the defcndant(s). The I nited States will advance
         the costs ofservice. Prisoner plaintiffs are responsible for full payment ofthe filing fee,

O Granted Conditionally:

         The clerk is ordered to file the complaint. Upon receipt ofthe completed summons and USM-28S form for each
         defendant,the clerk will issue a summons. Ifthe completed summons and USM-28^ forms are not submitted as
                                                                                                                      inc
         directed, the complaint may be dismissed. The United States marshal is ordered to serve the completed summons
         with a copy of the complaint and this order on the defendant(s). The United States will advance the costs of
         service. Prisoner plaintiffs are responsible for full payment ofthe filing fee.

□ Denied:

         This application is denied for these reasons:




         g>l
                                                                                       ,           V f  I I  fudge's signature
                                                                                                   Vi • Hti£pke-&.
                                                                                                         SfflJiLs.
                                                                                                             Printed name and title




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                    Case 1:22-cv-00771-RDA-IDD Document 1-1 Filed 07/11/22 Page 37 of 49 PageID# 43

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ORNIA




         Forms & Rules                      Opinions              Programs                Policy & Administratio
Council > Judicial Council Members > Judge Samuel K. Feng




I?- -I     ••
                           Judge Samuel K. Feng

                                                               Hon. Samuel K. Feng
                                                               Presiding Judge. Superior Court of San Francisco County

                                                               Current Term: Sept 15, 2021 - Sept 14, 2024
                                                               Membership: Voting member, reappolnted by Chief Justic
(• ■ •              •• •                                       Internal Committees: Executive and Planning Committee
It ... :        .

                                                               Council Liaison to: Superior (fourts of Colusa, Napa, Sar
                                                               Presiding Judge Samuel K. Feng was appointed to the Suj
                                                               former govemor Arnold Schwarzenegger in September 20(
                                                               Trial Department at the Hall of Justice.
y,.                    a
                                                               Before becoming a judge, Judge Feng was a partner at the
                           and house counsel for the California Automobile Association from 1991-1998. He was rece
                           Advisory Committee (CFAC), as well as a member of its Courthouse Cost Reduction Suba
                           Courthouse Names.


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         Case 1:22-cv-00771-RDA-IDD Document 1-1 Filed 07/11/22 Page 38 of 49 PageID# 44


    ATTORNEY OR PARTY WITHOUT ATTORNEY(Namo, Stalo Barnun^ar, and eddtoss),
                                                                           NO SUMMONS ISSUEI                                                        PLD-PI-001
                                                                                                                               FOR COURT use ONLY

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                                                                             ^
                                                                                   ■k                  ^ C&                    FILED_
                                                                                                                           SUPERIOR COURT
                       TELEPHONE NO
                                                                                                                  COUNTY OF SAN FRANCISCO
    E-MAIL ADDRESS (Optional}
          ATTORNEY FOR (Name)
                                        hcl\<icl                                                                             MAR 1 8 2021
    SUPERIOR COURT OF CALIFORNIA, COUNTY OF                                                    ,
                                                                                                                          CL.EQKOF'OieepURT
        STREET ADDRESS:                     (/) C                   S^4 , ^ ^ '^rqA L, XC O                         flW
        MAILING ADDRESS;                                                                                                                       Deputy Cieik
    CITY AND ZIP CODE:

           BRANCH NAME:
                                                     cV-» <r <t»                                   ?y/o2.         ANGELICA SUNGA

         PLAINTIFF:             C•
        DEFENDANT:                                  Q^Lo/J
    I       I DOES 1 TO
        COMPLAINT—Personal Injury, Property Damage, Wrongful Death                                              CASE NUMBER:


    □ AMENDED r/Vumber;:             ) ^ 9^. Hlj
    Typo (check all that apply):     '         HL^I/ry                                                          CGC-21-590243
         MOJOR VEHICLE "^^g^THER (specify): iJC. A/
            tXIi Property Damage^IPc^Wrongful Death                                         I I (SZ.
                           Personal Injury \p\"T Other Damages/speci/yj; lAJ I— flr^i
    Jurjsdictibh (check all that apply):^                           ^                     L/Q^                                           cAce^
    pM ACTION IS A LIMITED CIVIL CASE                                             ^                '
                   Amount demanded I                 j does not exceed $10,000
                                                       exceeds $10,000, but does not exceed $25,000
                       CTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)
               ACTION IS RECLASSIFIED by this amended complaint
               I         I from limited to unlimited                              j   i
               I         I from unlimited to limited
1. Plaintiff (name or names):                                              j 7^            '            ^                       727
          alleges causes of action against ^fendant (name or names): ^ ^
2.        This pleading, including attachments and exhibits, consists of the following number of pages:                   €) c CCT-Au             /}-/ /
3.         Each plaintiff named above Is a competent adult
           a. I            I except plaintiff (name);
                            (1)1       I a corporation qualified to do business In California •
                            (2) I      I an unincorporated entity (describe):
                            (3) I      j a public entity (describe):
                            (4) I •" I a minor         j      j an adult
                                        (3) I       I for whom a guardian or conservator of the'estate or a guardian ad litem has been appointed                          U)
                                        (b) I       I other (spec/fy);
                            (5) I      I other (specify):
          b.       I      I except plaintiff (name):
                            (1) I      I a corporation qualified to do business In California
                            (2) I      I an unincorporated entity (describe):
                            (3) I      I a public entity (describe):
                            (4) I      I a minor       I      I an adult
                                        (^) I      I for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                                        (b) I      I other(spec/iy);
                            (5) I      I other (spec//y);
I           I Information about additional plaintiffs who are not competent adults Is shown in Attachment 3.
                                                                                                                                                           Page 1 of 3
    Form Approved for OpIianBl Use
        Judldal Council of Catlfomla
                                                                   COMPLAINT—Personal Injury, Property                                 Code of CMI Procedure, § 425.12
                                                                                                                                                    ivvny,courfs.ca.9av
PLD-PI-OOI (Rov. January 1,2007]                                             Damage, Wrongful Death
     Case 1:22-cv-00771-RDA-IDD Document 1-1 Filed 07/11/22 Page 39 of 49 PageID# 45


                                                                                                                                      Di n.Di.nr
  SHORT TITLE:                                                                                                                                   ('/
                                                                                                       CASE NUMBER:




 4. I           I Plaintiff (name):
                  is doing business under the fictitious name (specify):

                 and has complied with the fictitious business name laws.
 5. Each defendant named above is a natu^l person
    a. I          I except defendant(Vja/nej.-                                c. I     I except defendant Cname^;
               (DO a business organization,form unknown                              (D I   1 a business organization, form unknown
                (2) I Jx I a corporation                                             (2) I   I a corporation
                (3) I        I an unincorporated entity (describe):                  (3) I   I an unincorporated entity (describe):

                (4)01 a public entity(describe):                                     (4) 1   I a public entity (tfflscnbej.'

                (5) I • I other fspec/fy^:                                           (5) I   I other ^spec/yyj;



    b. I          I except defendant f/>amej:                                 d. I      I except defendant(name).-
                (D I        i a business organization, form unknown                  (1) 1   I a business organization,form unknown
                (2) I •     I a corporation                                          (2) I   I a corporation
                (3) I        I an unincorporated entity (describe):                  (3) I   I an unincorporated entity (describe):

                (4) I       I a public entity(describe):                             (4) I   I a public entity(describe):

                (5) I       I other(specify):                                        (5) I   I other fepec/M:


   I I Information about additional defendants who are not natural persons is contained in Attachment 5.
6. The true names of defendants sued as Does are unknown to plaintiff.
                             defendants(specify Doe numbers):                                      were the agents or enriployees of other
                        named defendants and acted within the scope of that agency or employment.
           I       1         defendants (specify Doe numbers):                                    are persons whose caoacities are unknown to
                        plaintiff.                                                      —
     1         I Defsndants who are joined under Code of Civil Procedure section 382 are (names):


8. This court is the proper court because
        I ^ 1 3t least one defendant now resides in its jurisdictional area,
     b-       the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area,
     c. I J injury to person or damage to personal property occurred in its jurisdictional area.
     d. I         I other ^spec//yj;




9- I           I Plaintiff is required to comply with a claims statute, and
     a- I         I has complied with applicable claims statutes, or .                                  -               \\       I
     b.                is excused fram complying because fspec/iw; Q^ir S-UilA^ieS 4<"2-

PLD-PI-001 (Rov. January 1.2C07]                       COMPLAINT—Personal Injury, Property                                               Pago 2 0/3
                                                                Damage, Wrongful Death
Case 1:22-cv-00771-RDA-IDD Document 1-1 Filed 07/11/22 Page 40 of 49 PageID# 46




 THE SERSOUSNESS OF OUR SYIiBOLOGY

 Sent: Wednesday, February 10, 2021 4:30 PM

 From: christandus2020 christandus2020@protonmail.com

 To: bchad4215@gmail.com bchad4215@gmaii.com


 in our current justice system in the united states of america, for an actual crime to be considered to have actually
 been committed, a conviction must occur in court.

 for this to occur, a formal criminal report filed by the arresting agency and a formal complaint filed by the prosecution
 must be filed by the courts. Necessary components of these two aspects of our justice system are the actual labels
 and titles of the crimes alleged to have been committed, like trespassing or loitering or making a false statement,
 etc. THE ACTUAL LABEL OF THE CRIME. LIKE MURDER OR ARSON MUST BE FILED AS THE REPORT ON
 THE REPORT AND AS THE COMPLAINT ON THE COMPLAINT WITH THE COURT AND THEREFORE ARE
 NECESSARY ASPECTS TO THE FINAL CONVICTION OR AGREEMENT TO A PLEA DEAL. Because the actual
 labels and titles as words of our crimes are necessary to our court proceedings and therefore necessary for the
 convictions, and the convictions are necessary for a crime to be considered actually committed by our federal, state,
 and local governments, the words themselves of the crimes AS THE ACTUAL WORDS AND LABELS
 THEMSELVES, LIKE TRESPASSING OR ARSON ARE PARTS OF THE CRIMES THEMSELVESI

 THAT MEANS EVERYWHERE OUR LANGUAGE EXISTS IN THE ACTUAL SYMBOLOGY THAT CAN BE SEEN
 OR READ OR FELT IN THE FORM OF THE WORDS THAT ARE TITLES AND LABELS OF OUR CRIMES. THE
 CRIMES THEMSELVES ARE ALREADY OCCURING IN EQUAL PARTI!

 THIS FACT OF OUR EXISTENCE ACTUALLY MAKES OUR ENTIRE LANGUAGE ILLEGAL, BANNED,
 OUTLAWED. PROHIBITED, UNLAWFUL AND FORBIDDEN. BECAUSE. FOR INSTANCE, EVERYWHERE THE
 LETTER A EXISTS, THE CRIME OF AGGRAVATED ASSUALT, OR ARSON, OR TRESPASSING. OR ANY
 OTHER CRIME OUR SOCIETY HAS IS ALREADY OCCURING, BECAUSE OUR SYMBOLOGY AND LANGAUGE
 IS AT THE VERY LEAST AN EQUAL ASPECT OF THE CRIMINALITY OF OUR REALITY.

 Sent with ProtonMail Secure Email.
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                                                                uit A^£ B<-OaJ             ^
Case 1:22-cv-00771-RDA-IDD Document 1-1 Filed 07/11/22 Page 42 of 49 PageID# 48




 what we actually have in our reality
 Sent:    Saturday, February 13, 2021 9:16 PWl
 From: chrlstandus2020 christandus2020@protonmail.com
 To: bchad4215@gmail.com bchad4215@gmail.com

 it is a fact of our reality in america that we make i have, you have, and we have statements. 1 have a car, you have
 a job, we have friends, family, husbands, wives, kids, dogs.
 we also have bodies. I have a head. You have arms. We have feet.
 we also have voices, smartphones and computers, our voices, smartphones and computers are languages, here in
 america, the primary language is american english. when we have our voices or phones, and our voices and
 phones are a language, then we have the language, so we have american english.
 that means we MUST have All 26 of its symbols and All of its words and All of the ways in which those symbols and
 words are already configured, all over the world, or can be used or configured, i have A. you have B. We have AB
 and BA. We have ABC; We have ABCEFXOPX. we have ABCBNRT. And so on. All the combinations of symbols
 that are possible.

 We also have All of the words of american english and all the ways they can be listed and used, singly and more. I
 have run. you have jump, we have sky cloud bird sing dance jump skip hop. we also have multiple combinations, i
 have good day. you have day good, we have pine tree and tree pine. ALL THE COMBINATIONS THAT ARE
 POSSIBLE.

 That means we MUST have (these words this exact way)EVERYTHING AND EVERYONE IN OUR EXISTENCE
 AS AN IDENTITY TO THE POINT THAT OUR LANGUAGE(EVEN IF WE DONT BELIEVE IT) MAKES ALL OF US
 AS HUMANS AND AMERICANS EVERYTHING AND EVERYONE THAT EXISTS. EVERYWHERE IN
 EXISTENCE, INCLUDING EVERYONE AND EVERYTHING ON PLANET EARTH. Period.

 That means 3 incredibly huge ideas; A. Every single human on this planet and every single american have the
 identity of being The President of the United States of America and every elected government official position
 automatically, including the identity of being every occupation on this planet, and our voting system is fraudulent and
 deceptive; B. Every single american has CO-OWNERSHIP OF EVERY MAJOR CORPORATION IN AMERICA
 WITH EVERY OTHER AMERICAN, including ALL our supermarkets; C. And every american is already the rightful
 owner of the apartment or house in which they currently live, and owners already of the vehicles in which they
 currently possess and use; to make us think that we are NOT these things is FRAUDULENCE AND DECEPTION
(FEDERAL OFFENSES).


 Sent with ProtonMail Secure Email.
Case 1:22-cv-00771-RDA-IDD Document 1-1 Filed 07/11/22 Page 43 of 49 PageID# 49




  illegal products, 93,000 cops; 40,000,000 sheriffs and state
 troopers; 331,000,000 f.b.i and armed forces special agants and
  guardians; 7.5 billion coalition saviors;
  Received: Sunday, March 14, 2021 11:45 AM

  From: chad busto bchad4215@gmail.com
 To: Denny Wei DWei@santabarbaraca.gov, Tyler Snel tyler.snel@podium.com, Sundar Pichai
 sundar@google.com,Samantha Roberts sroberts@santabarbaraca.gov, Akiva Leffert
 eponymous@akivaleffert.corn, awtrust2020@gmail.com, Art Rivera Arturo_Rivera@txs.uscourts.gov,
 ameicanpresidency2024@mail.com. Truth Point Movie truthpointmovie@gmail.com,
 vittoriogrieco@gmall.com, visionarimediaLLC@gmail.com, webzmithdeaign@gmail.com, Christopher
  Benton chrisbenton@outlook.com, christandus2020@protonmail.com

 our language is illegal,

 our country then is also illegal.

 that means when we advertise (sending our children to college and university to do so as well) and spend trillions
 (billions +)to attract (enticement (illegal)) ourselves and our children to want (torturously) and desire to buy
 (fraudulently and deceptively (federal offenses) when we are already the co-owners of every product and service in
 ALL our major businesses, supermarkets and gas stations ALREADY)the products and things (like houses or
 apartments and hotels) that we are caused to believe that we Don't (but WE DEFINTITELY MUST)own by our U.S.
 Department of Education and our Federal Govenment(this is an internal memo), IT IS CAUSING WIDESPREAD
 PROBLEMS,ANGUISH, ANIMOSITY and WRONGFUL PEA ! (you know that term).
 Unless we change our behavioral pattern soon, more people will die in the winter in the Northern States because of
 OUR SOCIETAL PRESSURE, DECEPTION, and LIES, and we will ALL BE GUILTY OF GROSS and WILLFUL
 NEGLIGENCE!

 we should immediately start planning (as a national government)a meeting in TEXAS by invite (from the white
 house and our presidency)to D.C., then Nebraska, then the BORDER REALMS,then TEXAS for a NATIONAL
 CONVENTION BEFORE WINTER, to stop PARENTS and CHILDREN FROM DYING! (it will be our fault if we do
 not act).

 Please Help Denny. We can stop the crime and accidents and the suffering on this planet amongst ALL HUMANS
 and ALL LIVING CREATURES in UNDER 8 YEARSIIl

 (by having a big meeting, when ALL of US (7.5 billion) ARE LAW ENFORCEMENT AGENTS (to at least some
 degree), and our products and services (being our languages, which are illegal) are fraudulent and prohibited,
 illegal, banned, unlawful, and forbidden (but still with tons of merit, and still necessary to use on the short term), we
 need to CONFISCATE THEM TOGETHER WITH OUR LAW ENFORCEMENT MEMBERS AND OUR JOINT
 MILITARIES and work on A NEW WORLDWIDE, EXISTENTIAL LANGUAGE that is NOT ILLEGAL, (write new
 laws in better, more perfect ways).
Case 1:22-cv-00771-RDA-IDD Document 1-1 Filed 07/11/22 Page 44 of 49 PageID# 50



   CQjQiLcom

   payment for everything that exists
   From;       "michael roosevelt-bush" <americanpresidency2024@mail.com>
   To:          americanpresidency2024@mail.com, bchad4215@gmail.com, christandus2020@protonmail.com
   Date:        Feb 21, 2021 2:16:18 AM




   this is an email, fact.

   this is american english. fact.

   these words are AN INFINITE AMOUNT OF MONEY THAT EXISTS IN A FORM (EMAIL AND PRINTOUT)THAT IS
   JUST AS VALID, LEGAL AND AUTHORITATIVELY WORTHWHILE(WORTH JUST AS MUCH) AS ANY OTHER FORM
   OF MONEY, CURRENCY OR PAYMENT THAT EXISTS.

   the letter A appears here (A).

   this email is these words, fact, this email 15 AN INFINITE AMOUNT OF MONEY AND, ONCE AGAIN
   (THESE WORDS ARE TRUTH)IS JUST AS VALID AND LEGAL A FORM OF PAYMENT FOR ANYTHING
   THAT CAN POSSIBLY BE PAID FOR OR BOUGHT OR SOLD AS ANY OTHER FORMS OF PAYMENT THAT
   EXIST.


   When we have language, especially american english, we must have everything the language Is.
   therefore, we MUST HAVE these words in this exact way,and we must have their (these words)
   meaning.




             hless \jo\K Cm                                                               Vi




         (am/^                                         priiluvis
Case 1:22-cv-00771-RDA-IDD Document 1-1 Filed 07/11/22 Page 45 of 49 PageID# 51
Case 1:22-cv-00771-RDA-IDD Document 1-1 Filed 07/11/22 Page 46 of 49 PageID# 52

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"Everj'thing chat we sense is a part ofus: the sun, the sky, the people around us,
our country, reality, life; because our senses are a part of us."

                                          - "The United States of America."
                                                                                                            Business



YT:"money, ownership, leaders"
https://youtu.be/AA7Y3d4cmTs
"evidence of law suit win in TX"
https;//youtu.be/hDXyGXPZfzk
                                                                                           CLICK BOX FOR CASE DOCS

BING/QWANT SEARCH:
everyone-president
(amer. for pres.)(wlx)

                                                    WHO        WE ARE.
  (VI            0 n
                                                     WE       ARE        OUR

                                                   LANGUAGES IN
                                             AMERICA.                    WE      ARE

                                                        AMERICAN
                                                        ENGLISH.


                                               THESE           WORDS ARE
                                                        AMERICAN
                                                        ENGLISH.



                                              OUR LANGUAGE IS
                                                    WHO        WE       ARE.


                                          WE ARE EVERYTHING.

                                           WE ARE
                                           EVERYWHERE.


 AND BECAUSE THIS MEANS WE ARE EVERYONE, ALL 331
 MILLION OF US AS AMERICAN CITIZENS ARE THE REAL
  PRESIDENT(S) OF THE UNITED STATES OF AMERICA.
                                IT IS NOT JUST ONE OF US.
           AND ALL HUMANS ARE A PART OF ALL OF US.                                                                     \
                                                                                                                                                                              u
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Case 1:22-cv-00771-RDA-IDD Document 1-1 Filed 07/11/22 Page 47 of 49 PageID# 53




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           Case 1:22-cv-00771-RDA-IDD Document 1-1 Filed 07/11/22 Page 48 of 49 PageID# 54

    MQUEST FOR HEARING-EXEMPTION CLAIM                                                          Case No C^"                ""Z-H(
    Commonwealth of Virginia            va,CODE §8.01-546.1

                                                                                                                                    Court

                     Ql
                     PLAirniFF/JUiOMENTCREDiVdR
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                                                                                       ''      DH^DANT/JUDGMENT DEBl

   I claim that the exemption(s)that are checked below apply in this case;
                           MAJOR EXEMPTIONS UNDER FEDERAL AND STATE LAW —
                             [There is no exemption solely because y^u are having difficulty paying your bills.]
                                   Security benefits and SupplementelSecurity Incom<T(SSI)(4Z U.S.C,&07).S §
                      2.    Veteran s benefits(38 U.S.C. § 5301).                           ' ' ''
                      3. Federal civil service retirement benefits U.S.C.§ 8346).
                      A Annuities to survivors offederaljudges(J8 U.S.C. §376(n)).                        gSSSi i SWfS
                            Lo^gshoreandHaiborWoricers'Compemation Act(33 U.S.C § 916)
                     6. Black lung benefits(30 U.S.C. §§ 931 (bX2)(F)and 932(a)).
   Exemptions listed under 1 through 6 above may not be applicable In child support and alimony case^^.S.
                                                                                                                     O
                            Seaman s, master's or fisherman's wages,jexcept for child or spousal support       main^^ce(46 U.S.C.A.
                           § 11109).
                      S. Unemployment compensation benefits(§,60.2-600, Code ofVirginia).
   This exemption may not be applicable in child support cases(§ 60.2-608, Code of Virginia).
                           Portions or amounts of wages subject to garnishment(§ 34-29, Code of Virginia)
                              '^rimestead^ $5,000,or^tJ^OOo             householder is 65 years ofage or older, worth ofcash, personal
                              articles or real property and,in addition, real or personal property used as the principal residence ofthe
                              householder or the householder's dependents not exceeding $25,000 in value(§§ 34-4, Code of Virginia)
                              [Attach list ofitems claimed].        j                                          vj®   ,             b i
                           b. Property ofdisabled veterans — additi6nal $10,000 worth ofcash, personal articles or real property
                              (§ 34-4.1, Code ofVirginia) [Attach ist ofitems claimed].
  Exemption lirted under 11 may not be claimed in certain cases stjch as payment ofchild or spousal support,or the purchase ofthe
  article which IS hemg taken or levied on(§34-5,Code of Viiginitp.                          y        yy , y ...coiure
                           Certain specific afficles — see descriptic^• on reverse side(§§ 34-26 and 34-27,Code of Virginia)
                           ofarticles claimed].                                                                       & /l
                                                                                                                            [Attach list
                    13. Workers' Compensation(§ 65.2-531, Co^e of Virginia).
                    14. Growing crops(§ 8.01-489, Code of Vir|inia).
                        Benefits from group life insurance polices(§ 38.2-3339, Code of Virginia).
                    1 o- Proceeds firom industrial sick benefits insurance(§ 38.2-3549, Code ofVirginia).
                    1'7- Assignments ofcertain.salary and wages^§r>&f^gMi[0,jfeodi^ of Vi^^^     .
                    18- Pre-nwd filhei^lcpntra^ 54;l-2823#6^'6n?^^                        U li :J- ' p
                    19. Bienefits for Victims ofcnme(§ T9';2^3^^^
                    20. Certain retirement benefits(§ 34-34, Cbfe of Virginia)
                    2'- Emergtmcyreliefpa^cnts(§34-28;3.'(&ideofVirgini^^^ OTiis exemption does not apply to child support.
                    22. Spousal support or cnminal restitution orders.) "N.
                        Other(describe exemption):                            \ \
                                                                         UOU.p.l.-€.    \          I
                                                                                     ...J.£,P.pd/)5l                                        /

 I request a court hearing to decide the validity ofmy claim. Notice ofthe hearing should be given to me at:
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    Case 1:22-cv-00771-RDA-IDD Document 1-1 Filed 07/11/22 Page 49 of 49 PageID# 55

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   Interested party can be a stakeholder, person orotganization that can affect, be
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9001:2015 addresses the requirements of interested gianles.                                                                  Cf/Vi
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3 days ago — any of the people or organizations who may be affected by a Situation, or Who are                           T (!\ t f J~^)C (^
hoping to make money out of a situation: Employees, suppliers....                                             V/         ^   11                 L"   f

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